Case 19-31484-sgj7 Doc 1 Filed 05/02/19 Entered 05/02/19 07:49:54 Page1of4

Fill in this information to identify the case:

United States Bankruptcy Court for the:
NORTHERN TEXAS

District of
(State)
11

Case number (if known): Chapter C] Check if this is an
amended filing

 

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor’s name The LaSalle Group, Inc.

 

2. All other names debtor used The LaSalle Group

in the last 8 years

 

 

 

Include any assumed names,
trade names, and doing business
as names

 

 

3. Debtor’s federal Employer 36 3720143
Identification Number (EIN) ee ee ee ee

4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business

545 E. John Carpenter Frwy.

 

 

 

 

 

 

Number Street Number Street
Suite 500
P.O. Box
Irving TX 75062
City State ZIP Code City State ZIP Code

Location of principal assets, if different from
principal place of business

 

 

 

 

Dallas
County
Number Street
City State ZIP Code

5. Debtor’s website (URL) www.lasallegroup.com

 

Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
Q Partnership (excluding LLP)
C) Other. Specify:

6. Type of debtor

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
Case 19-31484-sgj7 Doc 1 Filed 05/02/19 Entered 05/02/19 07:49:54 Page 2 of 4

The LaSalle Group, Inc.

Debtor

Case number (if known)

 

Name

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

9. Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

If more than 2 cases, attach a
separate list.

10. Are any bankruptcy cases
pending or being filed bya
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

Official Form 201

A. Check one:

(0 Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
OQ Raitroad (as defined in 11 U.S.C. § 101(44))

Q) Stockbroker (as defined in 11 U.S.C. § 101(53A))

CQ) Commodity Broker (as defined in 11 U.S.C. § 101(6))

Q) Clearing Bank (as defined in 11 U.S.C. § 781(3))

&) None of the above

B. Check ail that apply:

im Tax-exempt

entity (as described in 26 U.S.C. § 501)

L) investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.

§ 80a-3)

CJ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http:/Awww.uscourts.gov/four-digit-national-association-naics-codes .

551114

 

Check one:

Lj Chapter 7
L) Chapter 9
Chapter 11.

C) Chapter 12

@ No
Ch Yes. District

District
KI No

(} Yes. Debtor

District

Case number, if known

Check ail that apply:

QO) Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
4/01/22 and every 3 years after that).

(1 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
debtor is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

U) A plan is being filed with this petition.

| Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

C} The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

C) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2,

When Case number
MM/ DD / YYYY

When Case number
MM/ DD /YYYY

Relationship

 

When

 

MM / DD IYYYY

 

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Case 19-31484-sgj7 Doc 1 Filed 05/02/19 Entered 05/02/19 07:49:54 Page 3of4

The LaSalle Group, Inc.

Debtor Case number (if known),
Name

 

11. Why is the case filed in this Check all that apply:

district? . _ a . me. ==. 655
XY Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

LA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor ownorhave {) No
possession of any real
property or personal property

that needs immediate Why does the property need immediate attention? (Check ail that apply.)
attention?

Q) Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

CL) tt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

O) it needs to be physically secured or protected from the weather.

() It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

QO) other

 

Where is the property?

 

Number Street

 

 

City State ZIP Code

Is the property insured?

CY No

C) Yes. Insurance agency

 

Contact name

 

Phone

] Statistical and administrative information

13. Debtor’s estimation of Check one:
available funds

 

 

O Funds will be available for distribution to unsecured creditors.
@ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

; 0 1-49 CL} 1,000-5,000 LY 25,001-50,000
14. Estimated number of Q 50-99 2) 5,001-10,000 Q 50,001-100,000
Seaions OQ) 100-199 OQ) 10,001-25,000 O) More than 100,000
& 200-999
1 $0-$50,000 CG $1,000,001-$10 million Q $500,000,001-$1 billion
15. Estimated assets C) $50,001-$100,000 © $10,000,001-$50 million Q) $1,000,000,001-$10 billion
C) $100,001-$500,000 C2) $50,000,001-$100 million © $10,000,000,001-$50 bition
CJ §500,001-$1 million | $100,000,001-$500 million ( More than $50 billion

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
Case 19-31484-sgj7 Doc 1 Filed 05/02/19 Entered 05/02/19 07:49:54 Page 4 of 4

The LaSalle Group, Inc.

 

 

 

Debtor Case number (i known).
Name
. = C1 $0-$50,000 C) $1,000,001-$10 million CQ) $500,000,001-$1 billion
16. Estimated liabilities Q $50,001-$100,000 & $10,000,001-$50 million ©) $1,000,000,001-$10 billion
Cd $100,001-$500,000 2 $50,000,001-$100 million CQ] $10,000,000,001-$50 billion
CJ $500,001-$1 million CJ $100,000,001-$500 million {] More than $50 billion

 

| | Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of 5 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of

debtor petition.

= [have been authorized to file this petition on behalf of the debtor.

= {have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

   
   

Karen Nicolaou

Printed name

18. Signature of attorney x 05/01/2019

MM /DD /YYYY

ate

  
 
 

Vickie L. Driver

Printed name

Crowe & Dunlevy, P.C.

 

 

 

 

 

 

 

Firm name

1919 McKinney Avenue, Suite 100
Number Street

Dallas TX 75201

City State ZIP Code

214-420-2163 vickie.driver@crowedunlevy.com
Contact phone Email address

24026886 TX
Bar number State

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
